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               IN THE UNITED STATES DISTRICT CdtTRT     "



                    FOR THE DISTRICT OF MONTANAl: ,

                          GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,

                          Plaintiff,             No. CR 1O-02-GF-SEH

 vs.                                             ACCEPTANCE OF PLEA OF
                                                 GUILTY, ADJUDICAnON OF
 DOLLY DIANE CROWE,                              GUILT AND NonCE OF
                                                 SENTENCING
                          Defendant.

       In accordance with the Findings and Recommendations ofthe United States

Magistrate Judge Keith Strong, to which there has been no objection, and subject

to this Court's consideration ofthe Plea Agreement under Fed. R. Crim. P.

11(c)(3), the plea of guilty ofthe Defendant to Counts V and VIII of the

Indictment is hereby accepted. The Defendant is adjudged guilty of such offense.

All parties shall appear before this Court ~entencing as directed.

       IT IS SO ORDERED this ~~f July, 2010.




                                       United States District Judge

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